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1153043 Christian, Michael L. Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153039 Danner, Andres H.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153025 Goggin, Cynthia A.    Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153023 Gomez, Jorge A.       Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153027 Goodman, Bevan        Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153022 Gray, Wiley B.        Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153018 Harris, Brenda L.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153017 Harris, Garrie J.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153016 Harris, Julia         Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153014 Henley, Brian C.      Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153009 Jenkins, Tammy        Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153095 Longest, Jacob J.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153093 Magwood, Michele A. Danner, et al. v. Gilead     4:23-cv-01517-JST 1444
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1153089 Martini, Cynthia L.   Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153088 McGlone, Bernice E. Danner, et al. v. Gilead     4:23-cv-01517-JST 1444
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1153086 Mitchell, Ralph       Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153081 Palacio-Fernandez,    Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153079 Perez, Hector L.      Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153078 Perez, Orlando G.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153074 Reisman, Iris C.      Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153067 Tripp, Mark S.        Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153119 Walker, Robert M.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153113 Williams, James J.    Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1160717 Rochester, Roslyn     Johnson, D., et al. v.     3:23-cv-01439-JST 1444
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1122868 McKinley, Patricia     Cariano, et al. v. Gilead   4:22-cv-01867-JST 1445
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1122862 Minor, Montrel         Cariano, et al. v. Gilead   4:22-cv-01867-JST 1445
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1122863 Nowlin, Robert         Cariano, et al. v. Gilead   4:22-cv-01867-JST 1445
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1122866 Tran, Nam              Cariano, et al. v. Gilead   4:22-cv-01867-JST 1445
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1027643 Chrisman, Robert E.    Criado, et al. v. Gilead    4:21-cv-05656-JST 1445
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1153106 Jones, Michael A.      Danner, et al. v. Gilead    4:23-cv-01517-JST 1445
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1153104 Jorgensen, James       Danner, et al. v. Gilead    4:23-cv-01517-JST 1445
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1153085 Moss, Torrence         Danner, et al. v. Gilead    4:23-cv-01517-JST 1445
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1126936 Adams, Ella W.         Harlan, et al. v. Gilead    4:22-cv-03156-JST 1445
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1126938 Baskin, Mark A.        Harlan, et al. v. Gilead    4:22-cv-03156-JST 1445
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1126965 Frazzini, Vincent E. Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1126969 Green, Leon          Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1126971 Hansen, Craig L.     Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1126996 Moore, Mary H.       Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1126998 Noto, Leonard        Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1127007 Post, Donald         Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1127010 Raroha, Michael      Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1127014 Richburg, Janice     Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1127023 Sharp, Dwayne        Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1127035 Wong, Wayne C.       Harlan, et al. v. Gilead   4:22-cv-03156-JST 1445
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1123010 Ioannone, Gerald      Keefe, et al. v. Gilead   4:22-cv-01370-JST 1445
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1123004 Kayne, Benjamin       Keefe, et al. v. Gilead   4:22-cv-01370-JST 1445
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1123009 King, Forrest C.      Keefe, et al. v. Gilead   4:22-cv-01370-JST 1445
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1123006 Kouadio, N'goran      Keefe, et al. v. Gilead   4:22-cv-01370-JST 1445
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1123002 Leak, Samantha        Keefe, et al. v. Gilead   4:22-cv-01370-JST 1445
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1123001 LeBlanc, David        Keefe, et al. v. Gilead   4:22-cv-01370-JST 1445
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1122985 Miller, Stephen E.    Keefe, et al. v. Gilead   4:22-cv-01370-JST 1445
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1122973 Prather, Harvey       Keefe, et al. v. Gilead   4:22-cv-01370-JST 1445
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1122969 Ricci, Scott          Keefe, et al. v. Gilead   4:22-cv-01370-JST 1445
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686030   Nunez, Max R.        Goldfinger et al. v.         4:20-cv-04043-JST 1448
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530312   Fleming, Jermaine      Holley et al. v. Gilead   4:18-cv-06972-JST 1448
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530315   Foster, Millicent Y.   Holley et al. v. Gilead   4:18-cv-06972-JST 1448
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530357   Moreira, Claudio       Holley et al. v. Gilead   4:18-cv-06972-JST 1448
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530371   Powers, Ronnie A.      Holley et al. v. Gilead   4:18-cv-06972-JST 1448
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530375   Proctor, Carlos        Holley et al. v. Gilead   4:18-cv-06972-JST 1448
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530402   Tribble, Michael       Holley et al. v. Gilead   4:18-cv-06972-JST 1448
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677498   Garner, Roy            Leon et al. v. Gilead     4:20-cv-03744-JST 1448
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678315   Oliver, Gregory        Leon et al. v. Gilead     4:20-cv-03744-JST 1448
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676975   Peters, Rodney         Leon et al. v. Gilead     4:20-cv-03744-JST 1448
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529043   Ford, Shelia           Lyons et al. v. Gilead    4:19-cv-02538-JST 1448
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529050   Garrett, Terry W.      Lyons et al. v. Gilead    4:19-cv-02538-JST 1448
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529078   Malone, Patricia      Lyons et al. v. Gilead    4:19-cv-02538-JST 1448
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529081   Maynard, Charisa      Lyons et al. v. Gilead    4:19-cv-02538-JST 1448
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529086   Moon, James W., Jr.   Lyons et al. v. Gilead    4:19-cv-02538-JST 1448
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529090   Nolan, De’Mon         Lyons et al. v. Gilead    4:19-cv-02538-JST 1448
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529175   Brown, Thelma         Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529209   Costner, Karen        Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529217   Delours Fleming, Edna Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529248   Flowers, Derrick      Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529258   Glenn, David S.       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529259   Godfrey, Robert       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529260   Gooden, Gregory       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529280   Harvey, Warrick       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529286   Hinds, Kris           Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529300   Ivory, Kendrick       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529301   Jackson, Angela       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529304   Jamison, George       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529327   Lord, Cathy B.       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529343   Mayhan, Jamoni       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529355   McNeil, Michael K.   Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529367   Morris, Marcelle     Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529386   Patasky, Adam        Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529387   Payne, Misty M.      Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529388   Payton, Rynnaill     Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529395   Plowden, Khadija     Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529401   Rainey, Kyneshia     Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529407   Richardson, Aaron    Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529409   Roberts, Lindsey     Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529412   Robinson, Tyshun     Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529415   Rodriguez, Antonio   Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529419   Rubet, Francis       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529422   Salter, Shawn        Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529433   Shudy, Deborah       Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529436   Singleton, Hasan     Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529445   Snead, Ryan          Mosely et al. v. Gilead   4:19-cv-05816-JST 1448
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529480   Wheatley, Darryl       Mosely et al. v. Gilead     4:19-cv-05816-JST 1448
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529490   Williams, Kenneth J.   Mosely et al. v. Gilead     4:19-cv-05816-JST 1448
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529493   Williams, Rodney C.    Mosely et al. v. Gilead     4:19-cv-05816-JST 1448
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529495   Williams, Valerie      Mosely et al. v. Gilead     4:19-cv-05816-JST 1448
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658068   Calvin, Tracy          Pennington et al. v.        4:20-cv-03489-JST 1448
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533482   Alexander, Bruce       Rivers et al. v. Gilead     4:19-cv-07991-JST 1448
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533489   Price, Debra A.        Rivers et al. v. Gilead     4:19-cv-07991-JST 1448
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533495   Shaw, Elijah J.        Rivers et al. v. Gilead     4:19-cv-07991-JST 1448
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960384   Leite, Michael         White, A. et al v. Gilead   4:21-cv-02039-JST 1448
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960393   Shearer, Donna L.      White, A. et al v. Gilead   4:21-cv-02039-JST 1448
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1153101 Korienek, James A. Danner, et al. v. Gilead            4:23-cv-01517-JST 1444
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1122979 Nolan, Richard     Keefe, et al. v. Gilead Sciences,   4:22-cv-01370-JST 1445
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1146201 Rios, Margaret L.  Sharp, D., et al. v. Gilead         4:22-cv-09184-JST 1445
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1122867 Mclendon, Raashad Cariano, et al. v. Gilead            4:22-cv-01867-JST 1446
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1122920 Feliciano, Jose A. Keefe, et al. v. Gilead Sciences,   4:22-cv-01370-JST 1446
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1153054 Ayala, Raphael B.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153048 Byrd, Cameshia L.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153036 DiMaggio, Cathleen J. Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153028 Edwards, Karen        Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153024 Green, Michael D.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153008 Hurtado, Dominic G. Danner, et al. v. Gilead     4:23-cv-01517-JST 1444
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1153012 Jackson, Keith        Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153010 Jones, Dexter         Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153107 Jones, Lafayette D.   Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153105 Jorba, Michael V.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153092 Malpera, Elda         Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153084 Ortiz, Ramon          Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153082 Patten, Cassandra L. Danner, et al. v. Gilead    4:23-cv-01517-JST 1444
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1153080 Pauline, Dawn         Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153073 Richardson, Randy     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153072 Roberts, John F.      Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153062 Sipling, Thomas D.    Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153063 Skidmore, Daniel E.   Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153122 Turner, Booker T.     Danner, et al. v. Gilead   4:23-cv-01517-JST 1444
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1153116 Welch, Nicholas         Danner, et al. v. Gilead 4:23-cv-01517-JST 1444
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1153112 Williams, Jonathan      Danner, et al. v. Gilead 4:23-cv-01517-JST 1444
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1153108 Young, Mary B.          Danner, et al. v. Gilead 4:23-cv-01517-JST 1444
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1153967 Coleman, Jerome         Sutton, A., et al. v.      4:23-cv-00701-JST 1444
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1153965 Garcia, Nathania        Sutton, A., et al. v.      4:23-cv-00701-JST 1444
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1153961 Johnson, Mamie          Sutton, A., et al. v.      4:23-cv-00701-JST 1444
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1153957 McLean, Todd            Sutton, A., et al. v.      4:23-cv-00701-JST 1444
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1153955 Rials, John A.          Sutton, A., et al. v.      4:23-cv-00701-JST 1444
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1153956 Sutton, Anita E.        Sutton, A., et al. v.      4:23-cv-00701-JST 1444
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1122980 Nickerson, Robert       Keefe, et al. v. Gilead    4:22-cv-01370-JST 1445
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1125393 Alexander, Latasha      Lee, et al. v. Gilead      4:22-cv-02353-JST 1445
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1125368 Mosley, Craig L.        Lee, et al. v. Gilead      4:22-cv-02353-JST 1445
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1125355 Winters, Gregory W.     Lee, et al. v. Gilead      4:22-cv-02353-JST 1445
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685969   Franklin, Rhonda     Goldfinger et al. v.       4:20-cv-04043-JST 1448
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530387   Shirley, Antiqua     Holley et al. v. Gilead 4:18-cv-06972-JST 1448
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529029   Copelin, Demica      Lyons et al. v. Gilead     4:19-cv-02538-JST 1448
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529044   Frost, Arden         Lyons et al. v. Gilead     4:19-cv-02538-JST 1448
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529083   Messer, John         Lyons et al. v. Gilead     4:19-cv-02538-JST 1448
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529114   Taylor, Aaron K.     Lyons et al. v. Gilead     4:19-cv-02538-JST 1448
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529118   Thompson, Sam E.     Lyons et al. v. Gilead     4:19-cv-02538-JST 1448
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529128   Whaley, Timothy      Lyons et al. v. Gilead     4:19-cv-02538-JST 1448
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529155   Baker, Nina          Mosely et al. v. Gilead 4:19-cv-05816-JST 1448
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529158   Bartley, Oscar       Mosely et al. v. Gilead 4:19-cv-05816-JST 1448
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529187   Caldwell, Halbert    Mosely et al. v. Gilead 4:19-cv-05816-JST 1448
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529255   Garcia, Judy         Mosely et al. v. Gilead 4:19-cv-05816-JST 1448
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529262   Gordon, Donald J.    Mosely et al. v. Gilead 4:19-cv-05816-JST 1448
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529331   Lyons, Keith         Mosely et al. v. Gilead 4:19-cv-05816-JST 1448
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1153090 McGee, Melissa R. Danner, et al. v. Gilead        4:23-cv-01517-JST 1444
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1153087 Meeks, Daryl L.     Danner, et al. v. Gilead      4:23-cv-01517-JST 1444
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1122853 Schlenker, Chris    Cariano, et al. v. Gilead     4:22-cv-01867-JST 1445
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685933 Chambers, Roy        Goldfinger et al. v. Gilead   4:20-cv-04043-JST 1446
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914448 Boyd, Paulette L.    Kachelmyer, et al v. Gilead   4:21-cv-00328-JST 1446
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914508 Mitchell, Michael A. Kachelmyer, et al v. Gilead   4:21-cv-00328-JST 1446
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1106224 Caraway, Raymond Kelly, A., et al. v. Gilead      4:22-cv-00688-JST 1446
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529253 Fuller, Ronney       Mosely et al. v. Gilead       4:19-cv-05816-JST 1446
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529429 Scruggs, Maurice     Mosely et al. v. Gilead       4:19-cv-05816-JST 1446
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685948 Cundiff, Jetta       Goldfinger et al. v. Gilead   4:20-cv-04043-JST 1448
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686035 Owens, Delephine     Goldfinger et al. v. Gilead   4:20-cv-04043-JST 1448
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530334 Jones, Nicholas      Holley et al. v. Gilead       4:18-cv-06972-JST 1448
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530353 Miller, Jerry        Holley et al. v. Gilead       4:18-cv-06972-JST 1448
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530401 Towe, Wilton, Jr.    Holley et al. v. Gilead       4:18-cv-06972-JST 1448
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529312 Johnson, Monty       Mosely et al. v. Gilead       4:19-cv-05816-JST 1448
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529374 Nguyen, Cuong        Mosely et al. v. Gilead       4:19-cv-05816-JST 1448
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529406 Rice, Roy            Mosely et al. v. Gilead       4:19-cv-05816-JST 1448
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1153963 Joe, Patrick   Sutton, A., et al. v. Gilead   4:23-cv-00701-JST 1444
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529046 Gainey, Emile Lyons et al. v. Gilead           4:19-cv-02538-JST 1448
                       Sciences, Inc.
